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                                                                   UNITED STATES DISTRICT COURT
                                 8                               NORTHERN DISTRICT OF CALIFORNIA
                                                                      SAN FRANCISCO DIVISION
                                 9
                                10   GRACE LAU, CHRISTOPHER KARWOWSKI,                Case No. 3:22-cv-08981-RFL-SK
                                     MELODY KLEIN, MICHAEL MCBRIDE, and
                                11   AIMEN HALIM, individually and on behalf of all   DECLARATION OF TOBIAS
                                     others similarly situated,                       WOOLDRIDGE IN SUPPORT OF NON-
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                                12                                                    PARTY META PLATFORMS, INC.’S
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                                                   Plaintiffs,                        OPPOSITION TO PLAINTIFFS’
                                13                                                    MOTION TO COMPEL COMPLIANCE
                                            v.                                        WITH SUBPOENAS (ECF NO. 97)
                                14
                                     GEN DIGITAL, INC. and JUMPSHOT, INC.,
                                15                                                    Judge: Hon. Rita F. Lin
                                                   Defendants.                        Magistrate Judge: Hon. Sallie Kim
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                                29   T. WOOLDRIDGE DECL. IN SUPP. OF
                                     META’S OPP. TO MOTION TO COMPEL                             CASE NO. 3:22-CV-08981-RFL-SK
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                                     Case 3:22-cv-08981-RFL Document 109-2 Filed 09/06/24 Page 2 of 3



                                 1                          DECLARATION OF TOBIAS WOOLDRIDGE
                                 2          I, Tobias Wooldridge, declare as follows:
                                 3          1.      I am a Software Engineer on the Signals team at Meta Platforms, Inc. (“Meta”). I

                                 4   am familiar with Meta’s receipt of information from businesses and organizations based on my
                                 5   job responsibilities and duties, which have included engineering related to the technologies Meta
                                 6   offers businesses and organizations to help them understand and measure how their websites and
                                 7   digital products are performing. I have personal knowledge of the facts set forth below, and if
                                 8   called as a witness, I could and would competently testify to them under oath.
                                 9          2.      I submit this declaration in support of Meta’s Opposition to Plaintiffs’ Motion to
                                10   Compel Compliance with the subpoena that plaintiffs served on Meta in this action (ECF No. 97).
                                11          3.      The Meta Business Tools are common technologies offered by Meta that third-party
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                                12   website and app developers can use to share data with Meta about people’s interactions with their
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                                13   websites, apps, and stores. Meta is among multiple companies, including Google, Snapchat,
                                14   Reddit, and X (formerly Twitter), that offer these common technologies.
                                15          4.      Businesses can use a Business Tool, such as the Meta Pixel or Conversions API, to

                                16   send data to Meta about visitors’ interactions with their websites, and this transmission may
                                17   include cookies (small pieces of text stored by the visitor’s web browser on their device).
                                18          5.      To send this data to Meta, the transmission must include a dataset ID, such as a
                                19   Pixel ID or App ID. This is true whether the data is sent directly through the Meta Pixel installed

                                20   on a developer’s website or sent through a server-to-server communication.
                                21          6.      For Meta to run a reasonable query for data that may have been received from a
                                22   particular business via a Business Tool, Meta needs to understand which Business Tool may have
                                23   transmitted the particular data and the dataset ID, such as a Pixel ID or App ID.
                                24          7.      Plaintiffs provided to Meta the values for seven “_fbp” cookies they claim were
                                25   sent to Avast servers from users’ devices. The mere existence of such cookie data on an Avast
                                26   server, however, does not indicate either where the cookies came from (for example, from Avast’s
                                27   own web properties), or whether or when the cookies may have been transmitted to Meta, if
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                                29   T. WOOLDRIDGE DECL. IN SUPP. OF
                                     META’S OPP. TO MOTION TO COMPEL                                    CASE NO. 3:22-CV-08981-RFL-SK
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                                 1   ever. It also does not indicate what Business Tool or corresponding dataset ID may have been
                                 2   used to transmit any such data to Meta, to the extent it was transmitted.
                                 3          8.      Without knowing whether and how any cookie data residing on Avast servers was

                                 4   transmitted to Meta, if it was, Meta is not able to determine whether it can construct a reasonable
                                 5   search for any data sent by the Avast servers to Meta.
                                 6
                                 7          I declare under penalty of perjury under the laws of the United States and the State of
                                 8   California that the foregoing is true and correct.
                                 9          Executed on September 6, 2024 at Kirkland, Washington.
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                                                                                              /s/
525 Market Street, 29th Floor




                                12
 JENNER & BLOCK LLP




                                                                                              Tobias Wooldridge
  San Francisco, CA 94105




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                                29   T. WOOLDRIDGE DECL. IN SUPP. OF
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